                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              GREENVILLE DIVISION


R. TAYLOR SPEER,

       Plaintiff,                                   Case No.

v.
                                                    NOTICE OF REMOVAL OF ACTION
Lakeview Loan Servicing, LLC and LoanCare,          UNDER 28 U.S.C. § 1441(A) –
LLC,                                                FEDERAL QUESTION


       Defendants.

______________________________________________________________________________

            DEFENDANT’S NOTICE OF REMOVAL TO FEDERAL COURT

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TO:    HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE
       DISTRICT OF SOUTH CAROLINA, GREENVILLE DIVISION

       Defendant LoanCare, LLC (“LoanCare”) notifies the Court pursuant to 28 U.S.C. §

1441(a) that it has this day removed the state court action described below from the Court of

Common Pleas, County of Greenville, South Carolina to this Court. In support of its removal, the

LoanCare submits this notice. Removal is based on federal question jurisdiction as the Plaintiff

raises claims to the Real Estate Settlement Procedures Act, 12 U.S.C. 2601, et seq.




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                                        BACKGROUND

        1.     This action was originally filed in the Court of Common Pleas, Greenville County,

South Carolina on September 23, 2019. A copy of the complaint and all process, pleadings, and

orders served upon Defendant are attached hereto as Exhibit 1.


        2.     Defendant LoanCare was served with a summons and complaint on October 4,

2019, therefore, pursuant to 28 U.S.C. § 1446(b)(1) and (b)(2)(B) removal is timely.


        3.     This action is removable to federal court pursuant to 28 U.S.C. § 1441(a) because it

could have been filed originally in this Court pursuant to the jurisdiction conferred by 28 U.S.C. §

1331.


                           FEDERAL QUESTION JURISDICTION

        4.     This Court has original jurisdiction over this case pursuant to 28 U.S.C. § 1331

because Plaintiff seeks relief from a violation of the Real Estate Settlement Procedures Act, 12

U.S.C. 2601, et seq., over which this Court has jurisdiction.


                                             VENUE

        5.     Venue for removal is proper in this district and division pursuant to 28 U.S.C. §

1441(a) because this district and division embraces the Court of Common Pleas for Greenville

County, South Carolina, the forum in which the removed action was pending.


             THE OTHER PREREQUISITES FOR REMOVAL ARE SATISFIED

        6.     Pursuant to 28 U.S.C. § 1446(a), the contents of Exhibit 1 constitute copies of all

process, pleadings, and orders served upon Defendants in the action pending before the Court of

Common Pleas for Greenville County, South Carolina.



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       7.      Notice to the Court of Common Pleas for Greenville County, South Carolina, which

includes a duplicate of this Notice of Removal to Federal Court, is being filed with the Court of

Common Pleas for Greenville County, South Carolina as provided by 28 U.S.C. § 1446(d). A

copy of this Notice is attached as Exhibit 2.


       8.      Written notice of the filing of this Notice of Removal will be sent to Plaintiff's

counsel, the only adverse party, as provided in 28 U.S.C. § 1446(d). A copy of this notice is

attached as Exhibit 3.


       9.      Defendant Lakeview Loan Servicing, LLC, through its undersigned counsel,

consents to removal.


                                NON-WAIVER OF DEFENSES


       9.      By filing this Notice of Removal, LoanCare does not waive their rights to assert

any defenses and/or objections to which it may be qualified to assert.


        10.    By filing this Notice of Removal, LoanCare does not admit any of the allegations

in plaintiff’s complaint.


                                        {Signature on next page}




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       WHEREFORE, Defendant prays that the Complaint filed by Plaintiff in the Court of

Common Pleas for Greenville County, South Carolina, be removed to this Court.


       Respectfully submitted this 4th day of November, 2019.



                                   /s/Alanna Beth Herman
                                   Alanna Beth Herman (Fed ID #12998)
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                                   Berkowitz, PC
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                                   Attorneys for Defendant LoanCare, LLC



                                   Lakeview Loan Servicing, LLC CONSENTS:

                                   /s/Alanna Beth Herman
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                                   Attorneys for Defendant Lakeview Loan Servicing, LLC




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                                CERTIFICATE OF SERVICE

       This will certify service of a copy of the foregoing NOTICE OF REMOVAL TO

FEDERAL COURT by the CM/ECF online filing system with the U.S. District Court for the

District of South Carolina, Greenville Division, which will automatically send email notification

to all counsel of record and by U.S. Mail upon the following:

                                           Dave Maxfield
                                    Dave Maxfield, Attorney, LLC
                                          P.O. Box11865
                                        Columbia, SC 29211


       This 4th day of November, 2019.

                                     /s/Alanna Beth Herman
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